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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                        v.                        ) Case No. 1:21-cr-175-TJK
                                                  )
 ETHAN NORDEAN, et al.,                           )
                                                  )
        Defendants.                               )
                                                  )

                      DEFENDANT NORDEAN’S NOTICE OF EXHIBIT

       Defendant Nordean, through his counsel, attaches to this notice “Exhibit 1,” referenced in

his reply brief in support of his Motion for an Order Directing the Government to Identify Brady

Material. ECF No. 379.

       Exhibit 1 is the government’s “Global Discovery Production” discovery letter emailed to

defense counsel on May 12, 2022. Nordean neglected to attach the exhibit to his filing at ECF

No. 379.

Dated: June 8, 2022                         Respectfully submitted,

                                            /s/ David B. Smith
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                                    Certificate of Service

       I hereby certify that on the 8th day of June, 2022, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                   /s/ David B. Smith
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                                                   Counsel to Ethan Nordean




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